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 5
      Attorneys for Plaintiff McKesson Medical-Surgical Inc.
 6

 7                          IN THE UNITED ST ATES DISTRICT COURT

 8                           IN AND FOR THE DISTRICT OF ARIZONA

 9   McKesson Medical-Surgical Inc., a Virginia            Case No. - - - -
     corporation
10                                                         PLAINTIFF'S FED. R. CIV. PROC. 7.1
                            Plaintiff,                     DISCLOSURE STATEMENT
11          V.


12   Custom Glass and Synthetic Design, LLC, a
     Wyoming limited liability company
13
                            Defendant.
14

15          Pursuant to Rule 7 .1 of the Federal Rules of Civil Procedure, and to enable Judges and

16   Magistrate Judges to evaluate possible disqualifications or recusal, Plaintiff McKesson Medical-

17   Surgical Inc., by and through counsel, states as follows:

18          McKesson Medical-Surgical Inc. is a wholly owned subsidiary of McKesson Corporation

19   which is a public corporation listed on the New York Stock Exchange under the ticker symbo

20   MCK.

21   DATED: August 25, 2021                        BUCHALTER
22                                           By:   /s/ Nancy K. Swift
                                                   Nancy K. Swift
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26




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